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                      IN THE UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF ARKANSAS
                               WESTERN DIVISION

UNITED STATES OF AMERICA                                                              PLAINTIFF

v.                                   No. 4:14CR00152-06 JLH

TYSON G. NORSWORTHY                                                                DEFENDANT

                                            ORDER

       Pending before the Court is the defendant’s motion for continuance of the sentencing hearing

currently set for Wednesday, December 9, 2015. The motion is GRANTED. Document #246.

       The sentencing hearing for defendant Tyson G. Norsworthy is hereby rescheduled for

WEDNESDAY, DECEMBER 16, 2015, at 3:00 P.M., in Courtroom #4-D, Richard Sheppard

Arnold United States Courthouse, 500 West Capitol Avenue, Little Rock, Arkansas.

       IT IS SO ORDERED this 9th day of December, 2015.



                                                    _________________________________
                                                    J. LEON HOLMES
                                                    UNITED STATES DISTRICT JUDGE
